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                         UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA - TAMPA DIVISION

                              CASE NO. 8:22-cv-00581-WFJ-AEP

  HOLLY J. FRAZETTA, HEIDI L.
  FRAZETTA, and FRAZETTA
  PROPERTIES, LLC,
                         Plaintiffs,
  v.
  VANGUARD PRODUCTIONS,
  LLC and J. DAVID SPURLOCK,
                   Defendants.
  _________________________________/
                    DEFENDANTS’ MOTION FOR LEAVE TO FILE A
                    SECOND MOTION FOR SUMMARY JUDGMENT

         Defendants       VANGUARD           PRODUCTIONS,          LLC    and   J.   DAVID

  SPURLOCK, pursuant to Fed. R. Civ. P. 12 and 56, request leave to file a second

  motion for summary judgment to brief and argue a legal defense and standing, and in

  support, would show as follows:

              I.      The Proposed Motion Raises a Legal Defense and Rebuts
                      Plaintiffs’ Claim of Copyright Ownership and Standing

         1.        Plaintiffs’ Complaint alleges copyright was issued in 1988 for Death

  Dealer II, and in 1990 for Death Dealer V, for which no evidence exists. [DIN 1, p. 2].

         2.        Plaintiffs’ Death Dealer V differs significantly from the image reproduced

  as book cover art in Frazetta Definitive Reference.

         3.        Secondly, Plaintiffs entered into a settlement agreement in 2010

  providing Vanguard and Spurlock the right to reissue the Frazetta Definitive Reference.
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                II.      Defendants Have Not Waived Their Affirmative Defenses

           4.         Defendants allege [DIN 14, DIN 15] the following affirmative defenses:

                         1st Affirmative Defense - Plaintiffs lack standing to bring the
                         claims alleged against Defendants.
                         2nd Affirmative Defense - Failure to State a Claim: Plaintiffs’
                         Count I, Temporary Injunction and Permanent Injunction,
                         Count II, “Direct Copyright Infringement,” Count III,
                         “Contributory Copyright Infringement,” Count IV, “Vicarious
                         Copyright Infringement,” and Count V, “Inducing Copyright
                         Infringement” are barred by Plaintiffs’ failure to establish
                         Exclusive Rights in the three works alleged.
                         6th Affirmative Defense – Invalid Copyright: The alleged
                         copyrights are invalid and/or unenforceable, and Plaintiffs’
                         claims should be barred and their copyright registrations
                         canceled because of defects in the registration and fraud on the
                         Copyright Office.
                         8th Affirmative Defense - Plaintiffs had no ownership interest
                         in and to any of the Copyrights in the 3 works at issue as of the
                         date of filing the lawsuit, and as such, Plaintiffs are incapable of
                         maintaining their claims for copyright infringement.

           5.         Rule 12(h)(2) of the Federal Rules of Civil Procedure, “WAIVING AND

  PRESERVING CERTAIN DEFENSES,” provides in pertinent part that “Failure to state a

  claim upon which relief can be granted, to join a person required by Rule 19(b), or

  to state a legal defense to a claim may be raised: (A) in any pleading allowed or

  ordered under Rule 7(a); (B) by a motion under Rule 12(c); or (C) at trial.”

           6.         Rule 12(i) of the Federal Rules of Civil Procedure “HEARING BEFORE

  TRIAL,” provides: “If a party so moves, any defense listed in Rule 12(b)(1) - (7) -


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  whether made in a pleading or by motion - and a motion under Rule 12(c) must

  be heard and decided before trial unless the court orders a deferral until trial.”

           7.       Defendants request leave to brief and argue these affirmative defenses

  now, before trial, pursuant to the Court’s July 22, 2023 Order [DIN 66], ordering

  submissions of parties’ motions for summary judgment, leaving the date for re-setting

  trial in this matter open pursuant to review of the motions.

                                                 CONCLUSION

           WHEREFORE, For the reasons set forth above, Defendants respectfully

  request this Honorable Court issue an order granting Defendants leave to file a second

  dispositive motion for summary judgment, and for any and all other such relief

  deemed appropriate by the Court in the interests of justice.


         DATED: NOVEMBER 27, 2023


                                                        Respectfully submitted,


                                               /s/:     ______________________________
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